IN THE UNITED STATES DISTRICT COURT oe
FOR THE MIDDLE DISTRICT OF LOUISIANA

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CYNTHIA C. McCLINTOCK * fo TG Pa 1
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Plaintiff, : Oy CUTTER
Vv. * Civil Action No. ~ ~Ty)-
00-459 -D-MA
EXPERIAN INFORMATION *
SOLUTIONS, INC. and CREDIT BUREAU * AJURY TRIAL IS DEMANDED
OF BATON ROUGE, INC. *
*
Defendants. *
COMPLAINT

Plaintiff, Cynthia C. McClintock on her own behalf, complains as follows against
defendants Experian Information Solutions, Inc. and the Credit Bureau of Baton Rouge, Inc.
I. INTRODUCTION

1. The Plaintiff brings this action for damages based upon Defendants' violations of the
Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (hereinafter referred to as the "Act"). Plaintiff
seeks actual damages, punitive damages, costs and attorney's fees .

Il. PARTIES

2. Plaintiff, Cynthia C. McClintock, is a natural person who resides at 15660 Riverdale
Avenue, Baton Rouge, LA 70815.

3. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1681a (c) of the Act.

4. Defendant, Experian Information Solutions, Inc. (hereinafter referred to as
"Experian"), is a foreign corporation authorized to do and doing business in the state of Louisiana,

whose registered agent for service of process in Louisiana is CT Corporation System, 8550 United

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DATE: 86716708 DEPUTY CLERK: BP

Plaza Bilvd., Baton Rouge, LA 70809.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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5. Experian is a consumer reporting agency as defined in 15 U.S.C. § 1681a(f) of the
Act, regularly engaged in the business of assembling, evaluating, and dispersing information
concerning consumers for the purpose of furnishing consumer reports, as defined in § 1681a(d) of
the Act, to third parties.

6. Defendant, Credit Bureau of Baton Rouge, Inc. (hereinafter referred to as "CBBR"),
is a Louisiana corporation with its principal place of business located at 9489 Interline, Baton Rouge,
Louisiana.

7. Defendant CBBR is a consumer reporting agency as defined in 15 U.S.C. § 168 1a(f)
of the Act, regularly engaged in the business of assembling, evaluating, and dispersing information
concerning consumers for the purpose of furnishing consumer reports, as defined in § 1681a(d) of
the Act, to third parties.

If. FACTUAL ALLEGATIONS

8. On June 1, 1995. Plaintiff applied to be a co-signer with her brother, Claude
McClintock for the lease of a motor vehicle from Mid City Motors, Inc. d/b/a Audubon Ford.

9. Plaintiff did not return to Audubon Ford to sign the lease documents.

10. On or about June 14, 1995, someone fraudulently and without permission, consent,
or knowledge of Ms. McClintock, signed plaintiff's name to several documents including a lease
agreement.

11. This lease agreement was thereafter assigned to Ford Motor Credit Company.

12. Ms. McClintock later discovered this and found out that this resulted in the listing
of negative credit information on the credit profiles maintained by the defendants, Experian and

CBBR.
13. On or about April 1, 1999, Ms. McClintock executed an affidavit and enclosed it with
a dispute letter mailed to each of the defendants disputing the validity of the Ford Motor Credit
account.

14. Experian received this letter with the affidavit on April 5, 1999.

15. Despite this dispute letter, each of the defendants maintained this account on
plaintiffs credit profiles.

COUNT I - FAIR CREDIT REPORTING ACT VIOLATIONS

16. Plaintiff incorporates Ff 1-15 above.

17. In the entire course of its actions, Experian willfully and/or negligently violated the
provisions of the Act in the following respects:

a. By willfully and/or negligently failing to reinvestigate reasonably to fulfill its duty
under § 168 1i(a) of the Act.

b. Upon information and belief, by willfully and/or negligently failing, in the
preparation of consumer reports concerning Plaintiff, to follow reasonable procedures to assure
maximum possible accuracy of the information in the report, in violation of § 1681e of the Act.

18. Plaintiff incorporates {] 1-15 above.

19. ‘In the entire course of its actions, CBBR willfully and/or negligently violated the
provisions of the Act in the following respects:

a. By willfully and/or negligently failing to reinvestigate reasonably to fulfill its duty
under § 1681i(a) of the Act.

b. Upon information and belief, by willfully and/or negligently failing, in the
preparation of consumer reports concerning Plaintiff, to follow reasonable procedures to assure

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maximum possible accuracy of the information in the report, in violation of § 1681e of the Act.

20.  Asadirect and proximate result of the foregoing acts and omissions of Experian and
CBBR, Ms. McClintock has suffered actual damages and injury, including, but not limited to, stress,
humiliation, anxiety, extreme mental anguish and suffering, and emotional distress, for which she
should be compensated in an amount to be proven at trial.

WHEREFORE, plaintiff respectfully requests that judgment be entered against Experian
Information Solutions, Inc. and the Credit Bureau of Baton Rouge, Inc. for:

(a) actual damages as to Count I;

(b) punitive damages as to Count I;

(c) attorney's fees pursuant to 15 U.S.C. § 168in and/or § 16810 as to Count I;

(d) costs; and

(e) for such other and further relief as may be just and proper.

A JURY TRIAL IS DEMANDED.

BY ATTORNEY:

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Garth J. Ridgel/

Bar Roll Number 20589

200 Lafayette Street, Suite 608
Baton Rouge, Louisiana 70801
(225) 343-0700
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CYNTHIA C. MeCLINTOCK *
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Plaintiff , *
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EXPERIAN INFORMATION *

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OF BATON ROUGE, INC. *
*
Defendants. *

VERIFICATION

Thereby certify that the facts contained in the foregoing Complaint are true and correct to the

best of my knowledge, information and belief.

    

 
 

Ads

CYNTHIA C. McCLINTOCK
